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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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In the Matter of the Petition of GRACE =

OCEAN PRIVATE LIMITED, et al.,for ch. Nace LIKE
Exoneration from or Limitation of
Liability . IN ADMIRALTY
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ORDER

On April 1, 2024, Petitioners Grace Ocean Private Limited, as Owner of the M/V Dali, and
Synergy Marine Pte Ltd, as Manager of the M/V Dali, filed a Petition for Exoneration from or
Limitation of Liability (the “Petition’”’) following the March 26, 2024 allision of the M/V Dali with
the Francis Scott Key Bridge. (ECF No. 1.) The Court entered a Restraining Order and Order for
Issuance of Notice that Claims be Filed, which set a deadline of September 24, 2024 for persons
asserting claims with respect to which the Petition seeks exoneration from or limitation of liability.
(ECF No. 8.) That deadline has now passed.’ The Court now seeks clarity with respect to certain
Claims.

First, Damon Davis has filed an Answer to the Petition for Exoneration from or Limitation
of Liability. (ECF No. 89.) Although this document was docketed as an answer and counterclaim,
the document is titled as an answer, and does not appear to assert any claims. (Jd.) The Answer
is suggestive of a claim, as it includes a Prayer in which he seeks to “be permitted to proceed at

law in a venue of his choice or, alternatively, be awarded all damages requested in his Claim.”

(id)

' The Court extended the deadline for the “Cargo Interests” represented by Skeen & Kauffman, LLP and/or Hill
Rivkins LLP to October 2, 2024. (ECF No. 153.) The deadline was not extended as to any other Claimants.

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Second, on April 25, 2024, American Publishing, LLC, Karen Austin, and Charles Austin,
Jr. filed an Answer and a Class Action Claim. (ECF Nos. 20, 21.) On June 4, 2024, they filed an
Amended Claim, omitting most references to a class action. (ECF No. 38.) Then, on September
23, 2024, American Publishing, LLC? filed an Amended Answer. (ECF No. 152.) On September
24, 2024, American Publishing, LLC and several other business entities filed a Class Action Claim.
(ECF No. 222.)° The Austins are not listed as Claimants in this Class Action Claim, and the Class
Action Claim does not reference the June 4, 2024 Amended Claim. (/d.) In short, it is not clear
whether the September 24, 2024 Class Action Claim is meant to supplant the June 4, 2024
Amended Claim, and it is likewise not clear whether the Austins remain Claimants in this matter.

Accordingly, it is ORDERED that:

1. Damon Davis is DIRECTED to supplement his Answer by October 2, 2024, setting
forth any claims he intends to bring. A failure to file such supplement by this date may
result in the striking of his Answer and his dismissal as a party.

2. American Publishing, LLC, Karen Austin, and Charles Austin, Jr. are DIRECTED to
clarify which Claimants and Claims remain operative in this case by October 2, 2024,
with citations to the operative Claims and Answers. Alternatively, these entities may
choose to amend their claims and substitute in a less confusing claim or package of
claims. Failure to clarify or amend may result in the striking and dismissal of their

prior submissions.

> The Amended Answer refers to “Charles American Publishing, LLC”; this appears to be a typographical error.

> A previous version of this Class Action Claim was filed on September 23, 2024, (ECF No. 145), which the Court
understands has been supplanted by the September 24, 2024 Class Action Claim.

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DATED this@© day of September, 2024.

BY THE COURT:

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James K. Bredar
United States District Judge
